Case 1:17-cv-00320-JMS-RLP Document 79 Filed 04/19/18 Page 1 of 22            PageID #: 637




  CULPEPPER IP, LLLC
  Kerry S. Culpepper, Bar No. 9837
  75-5737 Kuakini Highway, Suite 102
  Kailua-Kona, Hawai’i 96740
  Telephone: (808) 322-3389
  Facsimile: (202) 204-5181
  E-Mail:     kculpepper@culpepperip.com

  Attorney for Plaintiffs
  ME2 Productions, Inc. and
  Venice PI, LLC


                           UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF HAWAII

   ME2 Productions, Inc., and                 )   Case No.: 1:17-cv-00320-JMS-RLP
   Venice PI, LLC                             )
                                              )   (Copyright)
                        Plaintiffs,           )
       vs.                                    )   FOURTH AMENDED
                                              )   COMPLAINT; EXHIBITS 1-10;
   DRAGON MEDIA, INC. d/b/a                   )   CERTIFICATE OF SERVICE
   Dragon Box,                                )
   PAUL CHRISTOFORO,                          )
   NAINOA BETTENCOURT d/b/a                   )   (1) CONTRIBUTORY
   Dragon Box Hawaii and Shi Shi Nai          )       COPYRIGHT
   Nai Entertainment, and                     )       INFRINGEMENT
   JASON BARNHART d/b/a/ Dragon               )
   Box-Hawaii Kai

                       Defendants.

                            FOURTH AMENDED COMPLAINT

            First Plaintiff ME2 Productions, Inc. (hereafter: “ME2”) and Second Plaintiff

  Venice PI, LLC (hereafter: “Venice”) (collectively “Plaintiffs”) file this Fourth



  20-003H
Case 1:17-cv-00320-JMS-RLP Document 79 Filed 04/19/18 Page 2 of 22             PageID #: 638




  Amended Complaint against Defendants Dragon Media, Inc. d/b/a Dragon Box

  (hereafter: “Dragon Box”), Paul Christoforo, and now identified Nainoa Bettencourt

  d/b/a Dragon Box Hawaii and Shi Shi Nai Nai Entertainment (hereafter: “Nainoa

  Betterncourt”) and Jason Barnhart d/b/a/ Dragon Box-Hawaii Kai (hereafter: “Jason

  Barnhart”) (collectively “Defendants”) and allege as follows:

                             I.    NATURE OF THE ACTION

           1.      This matter arises under the United States Copyright Act of 1976, as

  amended, 17 U.S.C. §§ 101, et seq. (the Copyright Act”).

           2.      The Plaintiffs allege that Defendants are liable for contributory

  copyright infringement in violation of 17 U.S.C. §§ 106 and 501.

                            II.   JURISDICTION AND VENUE

           3.      This Court has subject matter jurisdiction over this action pursuant to

  17 U.S.C. §§ 101, et. seq., (the Copyright Act), 28 U.S.C. § 1331 (federal question),

  and 28 U.S.C. § 1338 (patents, copyrights, trademarks, and unfair competition).

           4.      Defendants Dragon Box, Paul Christoforo, Nainoa Betterncourt and

  Jason Barnhart solicit, transact, or are doing business within this jurisdiction, and

  have committed unlawful and tortious acts both within and outside this jurisdiction

  with the full knowledge that their acts would cause injury in this jurisdiction.

           5.      Defendants Dragon Box and Paul Christoforo have indirectly or

  directly engaged Nainoa Betterncourt and Jason Barnhart, as well as many others,

                                               2
  20-003H 17-320
Case 1:17-cv-00320-JMS-RLP Document 79 Filed 04/19/18 Page 3 of 22            PageID #: 639




  as official resellers and authorized distributors of Dragon Box devices and affiliates

  of Dragon Media Inc in this District. Particularly, upon information and belief,

  Defendants Dragon Box and Paul Christoforo have engaged Nainoa Betterncourt

  and Jason Barnhart, both individuals residing in Hawaii, as official resellers and

  authorized distributors of Dragon Box devices. As such, Defendants Dragon Box

  and Paul Christoforo have sufficient contacts with this judicial district to permit the

  Court’s exercise of personal jurisdiction over them.

           6.      Each of Defendants Nainoa Betterncourt and Jason Barnhart either

  resides in, solicits, transacts, or is doing business within this jurisdiction, and has

  committed unlawful and tortious acts both within and outside this jurisdiction with

  the full knowledge that his acts would cause injury in this jurisdiction. As such,

  Defendants Nainoa Betterncourt and Jason Barnhart have sufficient contacts with

  this judicial district to permit the Court’s exercise of personal jurisdiction over him.

           7.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) - (c)

  because: (a) all or a substantial part of the events or omissions giving rise to the

  claims occurred in this District; and, (b) the Defendants Nainoa Betterncourt and

  Jason Barnhart reside, and therefore can be found, in this State. Additionally, venue

  is proper in this District pursuant 28 U.S.C. § 1400(a) (venue for copyright cases),

  because the Defendants Nainoa Betterncourt, Jason Barnhart, and their agents reside

  or may be found in this District.

                                               3
  20-003H 17-320
Case 1:17-cv-00320-JMS-RLP Document 79 Filed 04/19/18 Page 4 of 22             PageID #: 640




                                       III.   PARTIES

                      A. The First Plaintiff, ME2 Productions, LLC
           8.      The Plaintiff ME2 Productions Inc. (ME2) is a corporation organized

  and existing under the laws of the State of Nevada.

           9.      ME2 is an affiliate of Millennium Funding, Inc., a production company

  and      distributor    of   a   notable    catalog   of   major    motion    pictures.

  (www.millenniumfilms.com).

           10.     ME2 is the owner of the copyright for the motion picture in the Work

  “Mechanic: Resurrection” (hereafter: the “First Work”) a major motion picture

  released in 2016 as shown in Exhibit “1”.

           11.     The First Work is the sequel to the highly successful 2011 film “The

  Mechanic”. The First Work is a major production with notable actors, a national

  advertising campaign and a significant opening release in over 2,200 screens,

  promoted in part by its web site: http://www.mechanic.movie.

                               B. The Second Plaintiff, Venice PI, LLC.

           12.     The Plaintiff Venice PI, LLC (“Venice”) is a limited liability company

  organized under the laws of California with principal offices in Los Angeles,

  California.

           13.     Venice is an affiliate of Voltage Pictures, a production company with

  a notable catalog of major motion pictures. (www.voltagepictures.com).

                                               4
  20-003H 17-320
Case 1:17-cv-00320-JMS-RLP Document 79 Filed 04/19/18 Page 5 of 22               PageID #: 641




           14.     Venice is the owner of the copyright for the motion picture in the Work

  “Once Upon a Time in Venice”, (hereafter: the “Second Work”) a major motion

  picture released in June of 2017 as shown in Exhibit “2”.

           15.     The Second Work is about a private investigator who must follow a

  bizarre and comic path to recover his stolen dog.

                                          C. The Defendants

           16.     Defendant Dragon Media Inc. is a corporation duly incorporated under

  the laws of the State of California with its principal place of business at 2740 Circulo

  Santiago, Carlsbad, CA 92008. Defendant Dragon Media Inc. does business under

  the      name       Dragon     Box     and       operates   an   interactive     website

  http://www.thedragonbox.com/ as of January 15, 2018.

           17.     Defendant Paul Christoforo is the president, owner, and operator of

  Dragon Media Inc and, upon information and belief, a resident of Carlsbad,

  California.

           18.     Upon information and belief, Defendant Paul Christoforo so dominates

  Dragon Media Inc. that it has become merely the alter ego to Defendant Paul

  Christoforo.

           19.     Defendant Paul Christoforo unduly influences and governs Dragon

  Media Inc.



                                               5
  20-003H 17-320
Case 1:17-cv-00320-JMS-RLP Document 79 Filed 04/19/18 Page 6 of 22             PageID #: 642




           20.     There is such a unity of interest between Dragon Media Inc. and Paul

  Christoforo that the individuality, or separateness, of Paul Christoforo and Dragon

  Media Inc. has ceased and the facts are such that an adherence to the fiction of the

  separate existence of the Dragon Media Inc. from Paul Christoforo would, under

  the particular circumstances, sanction a fraud or promote injustice.

           21.     Defendant Paul Christoforo controls, participates in, exercises control

  over, or benefits from the infringement of Defendants Dragon Media Inc., Naino

  Bettencourt and Jason Barnhart as discussed below.

           22.     Defendant Naino Bettencourt is an authorized distributor of Dragon

  Box devices and an affiliate of Dragon Media Inc. residing in Hawaii. See Exhibit

  “3”.

           23.     Defendant Naino Bettencourt does or has done business under the

  name Shi Shi Nai Nai Entertainment.

           24.     Defendant Naino Bettencourt uses the Facebook user name “Nai Nai”.

           25.     Defendant Naino Bettencourt used the Facebook user name Nai Nai to

  promote the Dragon Box as shown in Exhibits “3” and “4”.

           26.     Defendant Nainoa Bettencourt does or has done business under the

  name “The Dragon Box Hawaii”.

           27.     Defendant Naino Bettencourt controlled or controls the Facebook user

  name and Facebook site “The Dragon Box Hawaii” as shown in Exhibit “5”.

                                               6
  20-003H 17-320
Case 1:17-cv-00320-JMS-RLP Document 79 Filed 04/19/18 Page 7 of 22             PageID #: 643




           28.     Defendant Naino Bettencourt controlled or controls the Instagram user

  name “@dragon_box_hawaii” as shown in Exhibit “6”.

           29.     At the Facebook site of The Dragon Box Hawaii the Dragon box was

  advertised as on sale for $150 off retail as shown in Exhibit “7”.

           30.     Defendant Jason Barnhart resides in Hawaii and is an authorized

  reseller of Dragon Box devices and an affiliate of Dragon Media Inc. as shown in

  Exhibit “8”.

           31.     Defendant Jason Barnhart does or has done business under the name

  JB Dragon Box-Hawaii Kai.

           32.     Defendant Jason Barnhart uses or used the Facebook user name

  “JBHawaiiKaiDragonBox”.

           33.     Defendant   Jason     Barnhart   used   the   Facebook   user     name

  JBHawaiiKaiDragonBox to promote the Dragon Box. See Exhibit “9”.

           34.     Defendant     Jason     Barnhart    used      the   email       account

  “DragonBoxHawaiiKai@gmail.com” to sale the Dragon Box. See Exhibit “9”.

           35.     Upon information and belief, Defendants Jason Barnhart and Nainoa

  Bettencourt purchase Dragon Box devices from Defendant Dragon Box, Defendant

  Paul Christoforo and/or entities authorized by Defendant Dragon Box and resale

  these Dragon Box devices to their Hawaii customers.



                                               7
  20-003H 17-320
Case 1:17-cv-00320-JMS-RLP Document 79 Filed 04/19/18 Page 8 of 22              PageID #: 644




           36.     Defendant Dragon Box and Defendant Paul Christoforo control

  participate in, exercise control over, or benefit from the sales of Dragon Box devices

  by Defendants Jason Barnhart and Nainoa Bettencourt.

           37.     The Hawaii customers are motivated to purchase the Dragon Box

  because of the promotions of Defendants of the Dragon Box as an infringing device.

           38.     Defendants benefit from the infringement of the Works by their Hawaii

  customers.

           39.     Upon information and belief, each and all of the Defendants jointly and

  severally contributed to, and/or participated in, the infringing activity as set forth

  below and each of Defendants was acting within the course and scope of

  employment, partnership and/or agency with the other, and each of the Defendants

  is jointly and severally liable for the injuries to Plaintiffs.

                                       IV.    JOINDER

           40.     Pursuant to Fed. R. Civ. P. 20(a)(1), each of the Plaintiffs are properly

  joined because, as set forth in detail above and below, the Plaintiffs assert: (a) a right

  to relief arising out of the same transaction, occurrence, or series or transactions,

  namely the use of one or more streaming applications installed at the Dragon Box

  device sold by Defendants; and (b) that there are common questions of law and fact.

           41.     Pursuant to Fed. R. Civ. P. 20(a)(2), each of the Defendants was

  properly joined because, as set forth in more detail below, the Plaintiffs assert: (a) a

                                                8
  20-003H 17-320
Case 1:17-cv-00320-JMS-RLP Document 79 Filed 04/19/18 Page 9 of 22              PageID #: 645




  right to relief arising out of the same transaction, occurrence, or series or

  transactions, namely the addons preinstalled on the Dragon Box for streaming

  Plaintiffs’ Works ; and (b) there are common questions of law and fact.

                             V.     FACTUAL BACKGROUND
           A. The Plaintiffs Own the Copyrights to the Works

           42.     The Plaintiff ME2 is the owner of the copyright in the First Work. The

  First Work is the subject of a copyright registration (Registration Number PA 1-

  998-057), and this action is brought pursuant to 17 U.S.C. § 411. See Exhibit “1”.

           43.     The Plaintiff Venice is the owner of the copyright in the Second Work,

  which is the subject of copyright registration (Registration Number PA 2-039-391)

  for the motion picture, and this action is brought pursuant to 17 U.S.C. § 411. See,

  Exhibit “2”.

           44.     The Works are motion pictures currently offered for sale in commerce.

           45.     Defendants had notice of Plaintiffs’ rights through at least the credits

  indicated in the content of the motion picture which bore a proper copyright notice.

           46.     Defendants also had notice of Plaintiffs’ rights through general

  publication and advertising associated with the motion picture, and packaging and

  copies, each of which bore a proper copyright notice.

           B. The Defendants contribute to their Hawaii customers’ Infringements of

           the Plaintiffs’ Copyrights

                                                9
  20-003H 17-320
Case 1:17-cv-00320-JMS-RLP Document 79 Filed 04/19/18 Page 10 of 22            PageID #:
                                    646



          47.     Defendant Dragon Box advertises itself as being easy for customers to

 install and operate. According to Defendant Dragon Box’s website, Customers need

 only (1) plug it in; (2) connect to Network; and (3) Enjoy.

          48.     Defendant Dragon Box markets the Dragon Box as a device that gives

 their customers direct access to “Free movies (In Theaters)”.

          49.     The Dragon Box device primarily utilizes two types of software

 programs. The first is a software media player called “Kodi.” Kodi is a third-party

 “open source” media player, meaning that it operates with many different programs

 and file formats. Kodi is recognized as the most popular media player for supporting

 the second type of software program Dragon Box device relies on which are referred

 to as “addons.” An addon is a software program that runs in conjunction with an

 underlying software program (like Kodi) to provide functionality over and above

 the functionality that the underlying software provides.

          50.     The Dragon Box device allows Defendant Dragon Box’s customers to

 access “unlimited” “free” content through the use of the “Dragon Media” software

 application. The Dragon Media application provides Defendant Dragon Box’s

 customers with a customized configuration of the Kodi media player and a curated

 selection of the most popular addons for accessing infringing content. These addons

 are designed and maintained for the overarching purpose of scouring the Internet

 for illegal sources of copyrighted content and returning links to that content. When

                                             10
 20-003H 17-320
Case 1:17-cv-00320-JMS-RLP Document 79 Filed 04/19/18 Page 11 of 22              PageID #:
                                    647



 Dragon Box customers click those links, those customers receive unauthorized

 streams of popular motion pictures and television shows.

          51.     From the customer’s perspective, Dragon Box works as follows. First,

 the customer boots up a newly delivered Dragon Box unit. Dragon Box presents the

 customer with a menu that includes the “DRAGON MEDIA” software application.

          52.     When a customer selects “DRAGON MEDIA” for the first time, the

 device prompts the customer to download the “DragonBox” software. After clicking

 through the guided “Media Setup,” the device downloads and installs the latest

 version of Dragon Media.

          53.     Once the Dragon Media software application has been downloaded and

 installed onto the Dragon Box device, the customer is presented a multi-page home

 screen that presents the customer with categories to select. These categories include

 “Sports,” “4Kids,” “Videos,” “IPTV,” and “TV Shows,” among others.

          54.     Defendant Dragon Box provides customers with numerous addons as

 part of their suite of Dragon Media addons to access all of the “Unlimited Shows,

 Movies, [and] Live Sporting events.”

          55.     Defendant Dragon Box’s customers use Dragon Box for intended and

 unquestionably infringing purposes, most notably to obtain immediate, unrestricted,

 and unauthorized access to unauthorized streams of Plaintiffs’ Copyrighted Works.

          56.     Covenant is an addon for accessing infringing content. It is one of the

                                              11
 20-003H 17-320
Case 1:17-cv-00320-JMS-RLP Document 79 Filed 04/19/18 Page 12 of 22            PageID #:
                                    648



 suite of addons that Dragon Box includes with the download and installation of the

 Dragon Media software application.

          57.     The customer opens Covenant by clicking the shortcut button on the

 Dragon Box home menu. Once opened, the customer sees a welcome screen, which

 features 15 different categories and search options. These curated categories include

 selections of obviously popular and copyrighted content, such as “Box Office,” “In

 Theaters,” and “New Movies”.

          58.     Once the customer selects a particular title to stream, he or she has

 access to dozens of links to sources of unauthorized content.

          59.     The customer also has access to information about the sources of the

 unauthorized content, including whether the source streams content in high-

 definition or standard-definition resolution.

          60.     When the customer selects a source for a motion picture, Dragon Box

 presents a user-friendly interface with buttons to fast-forward, rewind, play, pause,

 stop, and turn on closed-captioning, among others. With just a few clicks, the

 customer can access an infringing stream of a motion picture that can be seen legally

 only in theatres.

          61.     Defendants promote the use of Dragon Box for overwhelmingly, if not

 exclusively, infringing purposes, and that is how their customers use Dragon Box.

          62.     Defendant Dragon Box urges Dragon Box customers to stream

                                             12
 20-003H 17-320
Case 1:17-cv-00320-JMS-RLP Document 79 Filed 04/19/18 Page 13 of 22          PageID #:
                                    649



 infringing content. Defendants’ promotional materials inform customers that “[y]ou

 get Free pay per view. Free movies still in theaters in HD and 3D. Sports Packages,

 Kids content & All content is free.” Defendant Dragon Box tells Dragon Box

 customers that they can “Watch What You Want When You Want With Dragon

 Box and Save $$” and access “Free Movies (In Theater)” “Free TV Shows

 commercial free from season one” and “so much more content”.

          63.     Defendant Naino Bettencourt operates a Facebook page directed

 towards Hawaii customers: https://www.facebook.com/TheDragonBoxHawaii/.

          64.     In this Facebook page, Defendant Paul Christoforo commented, “Best

 product on the market! Get one if you don’t have one!”

          65.     In this Facebook page, Defendant Naino Bettencourt states:

 “Unlimited TV shows”; “Unlimited Movies”; “Unlimited Major sports” and

 “Unlimited Live TV” at HD, 1080P, 4K resolution.

          66.     Defendants Dragon Box and Paul Christoforo also use their Facebook

 pages to announce software updates and advertise the availability of infringing

 content that is not yet available outside of theaters.

          67.     Defendants Dragon Box and Paul Christoforo promote Dragon Media

 Inc.’s regular updates to the Dragon Media software application.

          68.     Defendant Naino Bettencourt also uses the Facebook page The Dragon

 Box Hawaii and his Face Book page Nai Nai to announce software updates and

                                            13
 20-003H 17-320
Case 1:17-cv-00320-JMS-RLP Document 79 Filed 04/19/18 Page 14 of 22           PageID #:
                                    650



 promote the Dragon Box. Exhibit “5”.

          69.     Defendant Jason Barnhart also uses his Facebook pages to promote the

 Dragon Box as providing “Free Movies (In Theater)”, “Free TV Shows commercial

 free” and “ Free Live TV and So Much More”.Dragon Media Inc. also provides

 Dragon Box customers with access to “premium” addons. For example, Dragon

 Media Inc. issues every Dragon Box customer a user login and password to access

 “Area-51 IPTV.” Using the Area-51 IPTV addon, Dragon Box customers can

 stream live television channels, including premium cable television networks and

 sports networks.

          70.     The commercial value of Defendants’ Dragon Box business depends

 on high-volume use of unauthorized content through the Dragon Box devices.

 Defendants promise their customers reliable and convenient access to all the content

 they can stream and customers purchase Dragon Box devices based on Defendants’

 apparent success in delivering infringing content to their customers. Defendants

 Dragon Box and Christoforo solicit individuals like Nainoa Bettencourt and Jason

 Barnhart to serve as authorized distributors and resellers of Dragon Box devices.

          71.     Defendant Nainoa Bettencourt solicits individuals to serve as

 authorized resellers of Dragon Box devices. See Exhibit “10”.

          72.     Defendant Dragon Box’s revenues grow based on increase in demand

 for the Dragon Box devices. The demand for Dragon Box is driven by Defendant

                                             14
 20-003H 17-320
Case 1:17-cv-00320-JMS-RLP Document 79 Filed 04/19/18 Page 15 of 22            PageID #:
                                    651



 Dragon Box’s promise of free access to infringing content. These promises depend

 on and form an integral part of an ecosystem built on the mass infringement of

 Copyrighted Works, including Plaintiffs’.

          73.     Defendants Dragon Box and Paul Christoforo are vicariously liable for

 copyright infringement as they had the right and the power to control both directly

 and pursuant to reseller and distribution servicing agreements, the activities of

 Defendants Nainoa Bettencourt and Jason Barnhart, as well as the infringing

 activities of others, and Defendants Dragon Box and Paul Christoforo received a

 direct financial benefit, financial advantages, and/or other economic consideration

 from the infringing activities of Nainoa Bettencourt and Jason Barnhart. Thus, all

 Defendants Dragon Box and Paul Christoforo are liable for profits resulting from

 the copyright infringement in the United States.

          74.     Defendant Nainoa Bettencourt is vicariously liable for copyright

 infringement as he had the right and the power to control both directly and pursuant

 to reseller agreements, the infringing activities of others, and Defendant Nainoa

 Bettencourt received a direct financial benefit, financial advantages, and/or other

 economic consideration from the infringing activities of his licensed resellers. Thus,

 Defendant Nainoa Bettencourt is liable for profits resulting from the copyright

 infringement in the United States.



                                             15
 20-003H 17-320
Case 1:17-cv-00320-JMS-RLP Document 79 Filed 04/19/18 Page 16 of 22            PageID #:
                                    652


                         VI. FIRST CLAIM FOR RELIEF
           (Contributory Copyright Infringement based upon Inducement)

          75.     Plaintiffs re-allege and incorporate by reference the allegations

 contained in each of the foregoing paragraphs.

          76.     Plaintiffs are the copyright owners of the Works which each contains

 an original work of authorship.

          77.     Defendants have actual knowledge of third parties’ infringement of

 Plaintiffs’ exclusive rights under the Copyright Act.

          78.     Defendants intentionally induce the infringement of Plaintiffs’

 exclusive rights under the Copyright Act, including infringement of Plaintiffs’

 exclusive right to publicly perform their Copyrighted Works. As intended and

 encouraged by Defendants, the Dragon Box device connects customers to

 unauthorized online sources that stream Plaintiffs’ Copyrighted Works.            The

 operators of these source repositories directly infringe Plaintiffs’ public performance

 rights by providing unauthorized streams of the works to the public, including to

 Dragon Box customers. These operators, or others operating in concert with them,

 control the facilities and equipment used to store and stream the content, and they

 actively and directly cause the content to be streamed when Dragon Box customers

 click on a link for the content.

          79.     Defendants induce the aforementioned acts of infringement by

 supplying the physical devices that facilitate, enable, and create direct links between
                                            16
 20-003H 17-320
Case 1:17-cv-00320-JMS-RLP Document 79 Filed 04/19/18 Page 17 of 22             PageID #:
                                    653



 Dragon Box customers and the infringing operators of the streaming services, and

 by actively inducing, encouraging and promoting the use of their devices for blatant

 copyright infringement.

          80.     Defendants intentional inducement of the infringement of Plaintiffs’

 rights in each of their Copyrighted Works constitutes a separate and distinct act of

 infringement.

          81.     Defendants inducement of the infringement of Plaintiffs’ Copyrighted

 Works is willful, intentional, and purposeful, and in disregard of and with

 indifference to the rights of the Plaintiffs.

          82.     Defendants Dragon Box and Paul Christoforo had the right, authority,

 and the ability to control or supervise the actions, failures, and omissions of

 Defendants Naino Bettencourt and Jason Barnhart, and other persons and entities,

 including their subsidiaries, affiliates, and distributors, which violated Plaintiffs'

 copyright in the Works.

          83.     An agency relationship exists or existed between Defendant Dragon Box

 and each of Defendants Naino Bettencourt and Jason Barnhart due to at least a

 reseller and/or distributor agreement.

          84.     Defendants Dragon Box and Paul Christoforo obtained a direct financial

 interest, financial advantage, and/or economic consideration from the infringement

 in Hawaii as a result of their infringing actions in the United States.

                                             17
 20-003H 17-320
Case 1:17-cv-00320-JMS-RLP Document 79 Filed 04/19/18 Page 18 of 22                PageID #:
                                    654



          85.     Defendant Naino Bettencourt had the right, authority, and the ability to

 control or supervise the actions, failures, and omissions of other persons and entities

 such as his licensed resellers, including their subsidiaries, affiliates, and distributors,

 which violated Plaintiffs' copyright in the Works.

          86.     Defendant Naino Bettencourt obtained a direct financial interest,

 financial advantage, and/or economic consideration from the infringement in Hawaii

 as a result of his infringing actions in the United States.

          87.     Defendants’ actions are a direct and proximate cause of the

 infringements of Plaintiffs’ Works.

                               V. SECOND CLAIM FOR RELIEF
                    (Contributory Copyright Infringement based upon Material
                                         Contribution)


          88.     Plaintiffs re-allege and incorporate by reference the allegations

 contained in each of the foregoing paragraphs.

          89.     Defendants have actual or constructive knowledge of infringement of

 Plaintiffs’ exclusive rights under the Copyright Act. Defendants knowingly and

 materially contribute to such infringing activity.

          90.     Defendants knowingly and materially contribute to the infringement of

 Plaintiffs’ exclusive rights under the Copyright Act, including infringement of

 Plaintiffs’ exclusive right to publicly perform their works. Defendants Dragon Box

 and Paul Christoforo design and promote the use of the Dragon Box device to
                                              18
 20-003H 17-320
Case 1:17-cv-00320-JMS-RLP Document 79 Filed 04/19/18 Page 19 of 22             PageID #:
                                    655



 connect customers to unauthorized online sources that stream Plaintiffs’

 Copyrighted Works. Defendants Naino Bettencourt and Jason Barnhart promote the

 use of the Dragon Box device to connect customers to unauthorized online sources

 that stream Plaintiffs’ Copyrighted Works. The operators of these source repositories

 directly infringe Plaintiffs’ public performance rights by providing unauthorized

 streams of the works to the public, including to Dragon Box customers. The

 operators, or others operating in concert with them, control the facilities and

 equipment used to store and stream the content, and they actively and directly cause

 the content to be streamed when Dragon Box customers click on a link for the

 content.

          91.     Defendants knowingly and materially contribute to the aforementioned

 acts of infringement by supplying the physical devices that facilitate, encourage,

 enable, and create direct links between Dragon Box customers and infringing

 operators of the streaming services, and by actively encouraging, promoting, and

 contributing to the use of their devices for blatant copyright infringement.

          92.     Defendants knowing and material contribution to the infringement of

 Plaintiffs’ rights in each of their Copyrighted Works constitutes a separate and

 distinct act of infringement.

          93.     Defendants knowing and material contribution to the infringement of

 Plaintiffs’ Copyrighted Works is willful, intentional, and purposeful, and in disregard

                                            19
 20-003H 17-320
Case 1:17-cv-00320-JMS-RLP Document 79 Filed 04/19/18 Page 20 of 22              PageID #:
                                    656



 of and with indifference to the rights of Plaintiffs.

          94.     As a direct and proximate result of the infringement to which

 Defendants knowingly and materially contribute, Plaintiffs are entitled to damages

 and Defendants profits in amounts to be proven at trial.

          95.     Defendants Dragon Box and Paul Christoforo had the right, authority,

 and the ability to control or supervise the actions, failures, and omissions of

 Defendants Naino Bettencourt and Jason Barnhart, and other persons and entities,

 including their subsidiaries, affiliates, and distributors, which violated Plaintiffs'

 copyright in the Works.

          96.     Defendants Dragon Box and Paul Christoforo obtained a direct financial

 interest, financial advantage, and/or economic consideration from the infringement

 in Hawaii as a result of their infringing actions in the United States.

          97.     Defendant Naino Bettencourt had the right, authority, and the ability to

 control or supervise the actions, failures, and omissions of his licensed resellers, and

 other persons and entities, including their subsidiaries, affiliates, and distributors,

 which violated Plaintiffs' copyright in the Works.

          98.     Defendant Naino Bettencourt obtained a direct financial interest,

 financial advantage, and/or economic consideration from the infringement in Hawaii

 as a result of his infringing actions in the United States.

          99.     Defendants’ actions are a direct and proximate cause of the

                                              20
 20-003H 17-320
Case 1:17-cv-00320-JMS-RLP Document 79 Filed 04/19/18 Page 21 of 22                 PageID #:
                                    657



 infringements of Plaintiffs’ Works.

          WHEREFORE, the Plaintiffs respectfully requests that this Court:

          (A) permanently enjoin each Defendant from continuing to contribute to

 infringement of the Plaintiffs’ copyrighted Works;

          (B) impound all Dragon Box devices in Defendants’ possession, custody, or

 control, and any and all documents or other records in Defendants’ possession,

 custody, or control relating to Defendants contribution to and inducement of the

 infringement of Plaintiffs’ Copyrighted Works.

          (C) award the Plaintiffs’ actual damages and Defendants’ profits in such

 amount as may be found; alternatively, at Plaintiffs’ election, for maximum statutory

 damages per Work pursuant to 17 U.S.C. § 504-(a) and (c);

          (D) award the Plaintiffs their reasonable attorneys’ fees and costs pursuant to

 17 U.S.C. § 505; and

          (E) grant the Plaintiffs any and all other and further relief that this Court deems

 just and proper.

          DATED: Kailua-Kona, Hawaii, April 19, 2018.


                                     CULPEPPER IP, LLLC


                                     /s/ Kerry S. Culpepper
                                     Kerry S. Culpepper

                                     Attorney for Plaintiffs
                                              21
 20-003H 17-320
Case 1:17-cv-00320-JMS-RLP Document 79 Filed 04/19/18 Page 22 of 22   PageID #:
                                    658




                                      22
 20-003H 17-320
